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                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MAINE

                                       )
In re:                                 )
                                       )
THE GETCHELL AGENCY,                   )            Chapter 11
                                       )            Case No. 16-10172
                  Debtor.              )
_______________________________________)
                                       )
NATHANIEL R. HULL, Chapter 11 Trustee )
for THE GETCHELL AGENCY,               )
                                       )
                  Plaintiff,           )            Adversary Proceeding
                                       )            Case No. 18-___________
v.                                     )
                                       )
MAINE RSA #1, INC. d/b/a U.S.          )
CELLULAR,                              )
                                       )
                  Defendant.           )
                                       )

           COMPLAINT AGAINST MAINE RSA #1, INC. d/b/a U.S. CELLULAR

         NOW COMES Nathaniel R. Hull, solely in his capacity as the duly-appointed Chapter 11

trustee (hereinafter, “Plaintiff” or “Trustee”) for the bankruptcy estate of The Getchell Agency

(hereinafter, “TGA” or the “Debtor”), through undersigned counsel, and hereby complains against

Defendant Maine RSA #1, Inc. d/b/a U.S. Cellular (hereinafter, the “Defendant”) as follows:

                                    Nature of the Complaint

         This action seeks the return of $10,266.10 of certain preferential transfers made within

ninety (90) days of the Petition Date (as defined below) by the Debtor to the Defendant. The

Complaint seeks to recover these preferential transfers plus the costs of this suit, including

attorneys’ fees.
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                                      I. Jurisdiction and Venue

       1.      This Court has jurisdiction under 28 U.S.C. §§ 157(a) & 1334(b), 11 U.S.C.

§§ 101 et seq. (the “Bankruptcy Code”), and Rule 83.6(a) of the United States District Court for

the District of Maine.

       2.      The causes of action stated in this Complaint are core proceedings pursuant to 28

U.S.C. § 157(b)(2). The statutory predicates for relief include, but not are limited to, sections 105,

502, 541, 547, 550, 551, and 1106 of the Bankruptcy Code.

       3.      Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 & 1409.

       4.      This Court possesses the requisite Constitutional authority to enter final judgments

on the relief requested herein.

                                             II. Parties

       5.      Plaintiff is the duly-appointed, qualified and acting Chapter 11 Trustee of the

above-referenced bankruptcy estate, with full power, authority, and standing to bring all causes of

action set forth in this Complaint.

       6.      TGA is a Maine corporation, which prior to the sale of substantially all of its assets

pursuant to an order entered by this Court (the “Sale”), operated from a principal place of business

located in Bangor, Maine.

       7.      Upon information and belief, Defendant is a Maine corporation in the wireless

telecommunications business, having a clerk/registered agent located at 45 Memorial Circle,

Augusta, Maine.




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                                     III. Factual Background

       8.      Prior to the Sale, the Debtor was a Residential Section 21 Funded Care Agency

licensed by the State of Maine pursuant to Title 22, Chapter 7801(A) of the Maine Revised

Statutes.

       9.      From 2005 to the date of the Trustee’s appointment on November 29, 2017, Rena J.

Getchell served as the CEO, President and sole Director of the Debtor.

       10.     Prior to the Sale, the Debtor’s business was providing residential and support

services for adult Mainers living with physical, emotional and cognitive disabilities in residential

care facilities located on mobile, modular and group homes.

       11.     At all relevant times, TGA provided residential and support services through two

contracts (the “Provider Agreements”) with the Maine Department of Health and Human

Services (“DHHS”).

       12.     Accordingly, TGA’s primary source of income was the payments received from

DHHS pursuant to the Provider Agreements.

       13.     On March 25, 2016, the Debtor filed a voluntary petition for relief under Chapter 11

of the Bankruptcy Code (the “Petition Date”).

       14.     On November 21, 2017, the U.S. Trustee filed a motion to appoint a trustee

pursuant to 11 U.S.C. § 1112(b)(1). This Court granted the motion for appointment of a trustee

on November 28, 2017.

       15.     On November 28, 2017, the U.S. Trustee filed a motion to appoint Nathaniel R.

Hull as Chapter 11 trustee. On November 29, 2017, this Court granted that motion appointing

Mr. Hull as Chapter 11 trustee.




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       A.      The Debtor’s Deteriorating Financial Condition and Insolvency

       16.     At all times relevant hereto, and at least back to 2013, by the Debtor’s own

admissions in myriad pleadings in this case, the Debtor’s financial condition was continually

deteriorating. By way of example only, the Debtor repeatedly stated that “[p]rior to the Petition

Date, the Agency experienced some financial difficulties, but most of them were manageable and

were in fact being effectively managed. . . . However, in 2013 certain former employees

commenced a class action against the Debtor in the U.S. District Court for the District of Maine

(the “Class Action”), which Class Action required the Debtor to devote considerable time and

resources, and expend significant expense, to defend against claims . . . . This obviously created

an untenable financial conundrum for the Agency and Ms. Getchell, who, as stated above, were

required to devote significant time, money and resources to defending the Class Action.”

       17.     In Affidavits filed by the Debtor’s former CEO, she likewise confirmed that the

“actions of DHHS seeking $1,036,307 [in recoupments], along with the class action lawsuit, based

on which the class action creditors filed claims of over $23,500,000 in the bankruptcy cases . . . .,

were the two major actions which drove [the Debtor] into bankruptcy.”

       18.     Debtor’s financial distress only increased when, in December 2015, it was sued by

Affiliate Funding, Inc. (“AFI”) and AFI was granted an ex parte order for attachment and trustee

process in the amount of $464,359.36.

       19.     During 2015, the Debtor was failing to pay its debts as they came due, including its

debts to AFI, as evidenced by AFI’s lawsuit and attachment.

       20.     Beginning in 2013 with the class action lawsuit seeking over $23.5 million in

damages, and continuing in September 2015 with DHHS seeking reimbursement of $1,036,307.00,




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and continuing further in December 2015 with the AFI lawsuit seeking $464,359.36 in damages

for breach of contract, the Debtor’s liabilities greatly exceeded its assets.

       21.     Many of the pleadings described above reflect that the Debtor’s debts (as defined

in the Bankruptcy Code) significantly exceeded its assets on the Petition Date. That condition

persisted until the Trustee’s appointment and continues as of the date of filing this Complaint. For

example, the Debtor’s Official Form 206Sum described Petition Date real and personal property

assets of $1,303,460.46 and liabilities of $3,438,080.81.

       B.      The Preferential Transfers to Defendant

       22.     According to the Debtor’s Statement of Financial Affairs [Doc 144-2], on the

Petition Date and/or during the ninety (90) day period prior to the Petition Date, between

December 26, 2015 and March 25, 2016 (the “Preference Period”), the Debtor transferred

property to the Defendant in the amount of $10,266.10 (collectively, the “Transfers” and each

individually a “Transfer”).

       23.     According to the Debtor’s books and records, each Transfer was made on the

following dates and in the following amounts:

                           01/12/16                           $5,107.51
                           01/28/16                           $5,158.59
                            Total:                           $10,266.10

       24.     The Defendant has failed to repay the Transfers in whole.

               COUNT I – AVOIDANCE OF PREFERENTIAL TRANSFERS
                                 (11 U.S.C. § 547)

       25.     The Trustee incorporates by reference the allegations set forth in Paragraphs 1

through 24 of this Complaint as if fully stated herein.

       26.     During the Preference Period, the Defendant received payments totaling at least

$10,266.10 from the Debtor, which constitutes a transfer of the Debtor’s interest in property.

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       27.     During the Preference Period, the Defendant was a creditor of the Debtor because

the Defendant supplied the Debtor with goods or services and the Debtor was obligated to pay the

Defendant for those goods or services. Therefore, the Transfers, in whole or in part, were made to

or for the benefit of a creditor (i.e., the Defendant) of the Debtor.

       28.     Each Transfer was made for or on account of an antecedent debt or debts owed by

the Debtor to the Defendant before such Transfer was made. Therefore, each Transfer was in

satisfaction of a “claim” (as that term is defined in the Bankruptcy Code) of the Defendant against

the Debtor prior to being paid by the Debtor on account of this antecedent debt (i.e., liability on

the claim).

       29.     Each Transfer was made by the Debtor during the Preference Period.

       30.     The Transfers, in whole or in part, were made while the Debtor was insolvent.

       31.     The Transfers, in whole or in part, enabled Defendant to receive more than it would

have received if (a) the Debtor’s case were one under Chapter 7 of the Bankruptcy Code, (b) the

Transfers had not been made, and (c) such creditor received payment of the debt to the extent

provided by the provisions of the Bankruptcy Code.

       32.     The Transfers are avoidable by the Trustee as preferences, their value is

automatically preserved for the benefit of the Debtor’s estate, and the Trustee may recover the

property transferred or the value of such property.

       WHEREFORE, the Trustee respectfully requests this Court enter a judgment: (i) that the

Trustee may avoid the Transfers; and (ii) granting such other and further relief as the Court deems

just and equitable.




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               COUNT II – RECOVERY OF PREFERENTIAL TRANSFERS
                                (11 U.S.C. § 550)

       33.     The Trustee incorporates by reference the allegations set forth in Paragraphs 1

through 32 of this Complaint, as if fully stated herein.

       34.     Pursuant to 11 U.S.C. § 550, the Trustee is entitled to recover the Transfers from

Defendant to the extent they are avoidable pursuant to 11 U.S.C. § 547(b).

       35.     Defendant is both the initial transferee and/or the entity for whose benefit the

Transfers were made because the Debtor made the Transfers directly to the Defendant.

       WHEREFORE, the Trustee respectfully requests this Court enter a judgment (i) for the

value of the Transfers against Defendant pursuant to 11 U.S.C. § 550(a)(1); (ii) assisting the

Trustee in collection efforts by issuing a writ of execution against Defendant for the aggregate

amount of the Transfers plus interest accruing since the date of each Transfer; and (iii) granting

such other and further relief as the Court deems just and equitable.

                        COUNT III—DISALLOWANCE OF CLAIMS
                              (11 U.S.C. §§ 502(d) and 550)

       36.     The Trustee incorporates by reference the allegations set forth in Paragraphs 1

through 35 of this Complaint as if fully stated herein.

       37.     Section 502(d) of the Bankruptcy Code provides that unless an entity or transferee

receiving a payment that is avoidable under section 547 of the Bankruptcy Code has paid the

amount for which such entity or transferee is liable under section 550 of the Bankruptcy Code, any

claim of such entity or transferee shall be disallowed.

       38.     The Defendant has not paid or surrendered the Transfers to the Trustee. Therefore,

any claim(s) which Defendant has filed or was scheduled in this case must be disallowed.




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        WHEREFORE, the Trustee respectfully requests this Court enter a judgment (i)

disallowing any and all claims Defendant has against the Debtor’s estate; and (ii) granting such

other and further relief as the Court deems just and equitable.

                                    PRAYER FOR RELIEF

        WHEREFORE, the Trustee respectfully requests that:

        A.     The Court grant judgment on Counts I and/or II and/or III as provided above;

        B.     The Court enter an order in a sum certain, together with interest as provided by

law, including post-judgment interest at the legal rate;

        C.     The Court award the Trustee the costs of suit herein, including attorneys’ fees;

and

        D.     The Court order such further legal, equitable, or declaratory relief as the Court

deems just and equitable.

        Dated at Portland, Maine this 20th day of November, 2018.

                                              NATHANIEL R. HULL, Chapter 11 Trustee

                                              By his attorneys,



                                              /s/ Stephen B. Segal
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